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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF INDIANA
                                      SOUTH BEND DIVISION

 WAYNE MOORE                                            )
                                                        )
         v.                                             )     Civil No. 3:11-CV-269 JD
                                                        )     Criminal No. 3:04-CR-71 JD
                                                        )
 UNITED STATES OF AMERICA                               )

                                          OPINION AND ORDER

         Now before the Court is Wayne Moore’s motion for post-conviction relief under 28 U.S.C.

 § 2255. As discussed below, the petition merely seeks to re-litigate issues that have already been

 considered on direct appeal by the Seventh Circuit Court of Appeals. Because there has been no

 change of circumstances to permit reconsideration of these issues, his arguments are procedurally

 barred and his motion is denied.

                                                  Background

         Wayne Moore was convicted on conspiracy to commit wire fraud on October 12, 2006. See

 DE 369. The charge and conviction of Moore (and a few months earlier, his four co-defendants)

 arose out of a Ponzi scheme that used false promises of exorbitant profits to separate investors from

 more than $5 million. See DE 1. Moore was sentenced to 60 months’ imprisonment, $4,310,795.58

 in restitution, and two years of supervised release.1 Moore and his co-defendants appealed, and the

 judgment was affirmed in all respects. See United States v. Griggs, 569 F.3d 341 (7th Cir. 2009).

 Moore’s subsequent petition for rehearing and petition for writ of certiorari were denied. He timely

 filed his motion for post-conviction relief on April 7, 2011. DE 602.

         The appeal focused on two issues. First, Moore contended that the district court erred by


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           As far as the Court is aware, Moore has served his sentence of imprisonment but remains under
 supervision in the Central District of California.
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 failing to instruct the jury that to convict him of conspiracy in violation of 18 U.S.C. § 371 they

 needed to unanimously agree on at least one overt act that was committed by a conspirator in

 furtherance of the conspiracy. Griggs, 569 F.3d at 343. The Seventh Circuit rejected this argument,

 holding as a matter of first impression that unanimity regarding an overt act is not necessary for a

 conspiracy conviction and thus that a district court is not “required (or indeed permitted) to tell the

 jury that, to convict Moore, it had to agree unanimously on an overt act that at least one of the

 conspirators had committed.” Id. Second, Moore argued that the district court had omitted an

 instruction informing the jury that the prosecution had to prove the interstate use of wire

 transmission, an essential element of wire fraud. Id. at 344. The Seventh Circuit agreed that this was

 error, but held that the error was harmless (and thus not prejudicial for purposes of plain error

 review) because the element of interstate communications by wire was essentially uncontested at

 trial. Id. at 345.

                                                Analysis

         Habeas corpus relief under 28 U.S.C. § 2255 is granted only in extraordinary situations

 where an error is “constitutional, jurisdiction, or is a fundamental defect which inherently results

 in a complete miscarriage of justice.” Barnickel v. United States, 113 F.3d 704, 705 (7th Cir. 1997).

 Moreover, “[a] § 2255 motion is neither a recapitulation of nor a substitute for a direct appeal. Issues

 that were raised on direct appeal may not be reconsidered on a § 2255 motion absent changed

 circumstances.” Varela v. United States, 481 F.3d 932, 935–36 (7th Cir. 2007) (citations omitted).

         Moore raises two arguments in his motion for post conviction relief. First, he claims that

 “under Richardson v. United States, 526 U.S. 813 (1999), and its progeny, a jury must be . . .

 instructed that unanimous agreement on a specific overt act is required to find a defendant guilty of


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 conspiracy under 18 U.S.C. § 371.” See Petition, DE 602 at 5. Second, he argues that “under

 Sullivan v. Louisiana, 508 U.S. 275 (1993), and its progeny, the wholesale failure to instruct the jury

 as to the object of the alleged conspiracy—its definition, meaning, elements—is a structural error

 requiring automatic reversal.” DE 602 at 6.

        Even a superficial comparison between Moore’s petition and the Seventh Circuit’s opinion

 in Griggs reveals that he is attempting to re-litigate issues that have been conclusively decided on

 direct appeal. He essentially admits as much in his petition, arguing that the panel opinion

 previously answered the questions he now raises “in a manner inconsistent with Supreme Court and

 Seventh Circuit precedent.” DE 602 at 5. Moore identifies no changed legal or factual

 circumstances. Rather, the Supreme Court authority he cites dates from before the decision in Griggs

 and no decisions since that decision call it into question—quite to the contrary, only two decisions

 cite Griggs on this issue and one has agreed and the other remained agnostic. See United States v.

 Kozeny, 667 F.3d 122, 131-32 (2d Cir. 2011) (citing Griggs in support of its holding “that the jury

 need not agree on a single overt act to sustain a conspiracy conviction”);United States v. Chen

 Chiang Liu, 631 F.3d 993, 1001 n.7 (9th Cir. 2011) (acknowledging the holding in Griggs but

 concluding that “[w]e do not need to definitively resolve that issue in this case, and we decline to

 do so”). Rather, Moore’s straightforward claim is that the decision in Griggs was wrong and that the

 panel opinion ignored inconsistent precedent from the Supreme Court, other Courts of Appeal, and

 the Seventh Circuit itself. This is not the province of post-conviction relief.

        For completeness, the Court notes that the Supreme Court cases that Moore cites do not

 undermine Griggs in any way. The first, Richardson, held only that a jury must unanimously agree

 on which “violations” make up a continuing series of violations for purposes of a continuing


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 criminal enterprise charge under 211 U.S.C. § 848. 526 U.S. at 824. It was not a conspiracy case and

 did not consider the question of jury unanimity on overt acts in furtherance of a conspiracy under

 18 U.S.C. § 371. The second, Sullivan, held that an erroneous instruction regarding the burden of

 proof is “structural error” and not subject to harmless error analysis. 508 U.S. at 281–82. Any

 implication this case may have held for the failure to instruct on an element of the offense was firmly

 rebutted a few years later in Neder v. United States, 527 U.S. 1, 10–11 (1999), which explained that

 Sullivan did not depart from earlier precedent and squarely held that “the omission of an element

 is an error that is subject to harmless-error analysis.”

                                              Conclusion

        For the reasons given, Mr. Moore’s motion for post-conviction relief under 28 U.S.C. § 2255

 is DENIED.

        SO ORDERED.

        ENTERED: May 13, 2013


                                                      /s/ JON E. DEGUILIO
                                                Judge
                                                United States District Court




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